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             EXHIBIT G
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                                                                                                          Tries to Explain His Radicalization




                                            15 NOVEMBER 2022 / SF POLITICS / JAY BARMANN



    Accused Pelosi Attacker David
    DePape Enters Plea In Federal
       Court; LA Times Tries to
      Explain His Radicalization

                  The 42-year-old Canadian citizen and longtime
                  resident of the Bay Area accused of a brutal attack on
                  Paul Pelosi three weeks ago, David DePape, made his
                  scheduled appearance in federal court on Tuesday
                  where he faces separate charges from those filed in
                  state court.

                  DePape appeared in an orange jumpsuit without handcuffs in
                  federal court in San Francisco this morning, as the Associated Press
                  reports. He was assigned a federal court-appointed attorney, Angela
                  Chuang. Christine Pelosi, one of the Pelosis' children, was in
                  attendance in the courtroom, per the AP.


                  As ABC 7 reports, DePape was accompanied by five U.S. marshals
                  and a pair of SF sheriff's deputies.




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                  U.S. Magistrate Alex Tse read DePape his Miranda rights and
                  prosecutors summariezed the charges against him — which in this
                  court include attempted kidnapping of a federal officer, and assault
                  on an immediate family member of a federal officer. The charges
                  carry with them a combined 50 years in prison, and a half million
                  dollars in fines.


                  DePape entered a plea of not guilty, and Chuang indicated that she
                  would not seek DePape's release from custody. As the Chronicle
                  reports, he is being held in SF County Jail as he faces a parallel
                  prosecution in state court for the assault on Mr. Pelosi.


                  As we learned two weeks ago, DePape never became a U.S. citizen
                  despite living in the Bay Area for the better part of the last two
                  decades. He was born in Canada, and San Francisco appears to have
                  a record of him registering to vote with the Green Party and voting at
                  least once in 2002. At the time, he may have had some kind of legal
                  resident status from a job he'd earlier held in Hawaii, though that is
                  not clear.


                  He had last legally entered the country in 2008 at the San Ysidro
                  border crossing just south of San Diego.


                  The Los Angeles Times this week delves into DePape's past, and his
                  recent history of radicalization-by-internet — something that had
                  been reported earlier by the New York Times through an interview
                  with his frequent employer, East Bay carpenter Frank Ciccarelli.
                  Ciccarelli says of DePape, "Everybody liked him," and he says that
                  while his ideas and obsession with conspiracies like Pizzagate and
                  QAnon grew more ridiculous in the last year or so, he just dismissed
                  it.


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                  "I didn’t take it seriously and I was wrong about that, obviously,
                  although I didn’t know any better,” Ciccarelli tells the LA Times.
                  "I’ve tried to help him the best as I could, but there’s something
                  going on here that’s not obvious to most of us."


                  We've talked before about how DePape was likely more left-leaning
                  during much of his time in the Bay Area — his former girlfriend
                  Gypsy Taub said he had been a fan of Barack Obama. But Taub
                  hinted that they both shared conspiracy-esque ideas about the
                  "shadow government" and secret ruling cabals. And it seems clear
                  that after experiencing homelessness and some possible mental
                  health struggles, DePape settled into a routine of consuming radical
                  right-wing content and conspiracy stuff during free time in his
                  rented garage in Richmond.


                  As Ciccarelli earlier told the New York Times, "Once he was housed,
                  he had much more time to spend on his computer. Because when
                  you’re living under a tree, you don’t have a plug."


                  And the LA Times now talks to some experts about the idea that
                  DePape's ideology likely shifted, and that he was likely fed more and
                  more extreme content through YouTube's algorithm and others,
                  which made him convinced of things like the pizza-parlor-adjacent
                  pedophile ring which was widely debunked over six years ago.


                  As recently as August, DePape was blogging about the connection
                  between elite figures and documented pedophile Jeffrey Epstein,
                  saying, "My friends would be like pizza gate was debunked their is
                  NO such thing as elite pedophile sex rings and I’m like HELLO
                  Epstein what planet are you on?"




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                  This obsession seems ironic given what stepdaughter Inti Gonzalez
                  wrote about DePape in the days after his arrest, on her Facebook
                  page. Gonzalez, whose mother is Taub, has two younger brothers
                  whom the LA Times now says are biological sons of DePape — which
                  has not been reported before. As the NY Post reported in the wake of
                  the Pelosi attack, Gonzalez wrote in a now deleted post, "This attack
                  on Nancy Pelosi’s husband came as a shock to me, though not much
                  considering the kind of extreme abuse he had inflicted on me and
                  my brothers." Gonzalez went on to discuss how her brother
                  Nebosvod began remembering that DePape "physically and sexually
                  abusing me and my brothers, which started when we were very
                  young and continued until around 2008." This happened, she said,
                  after Taub and DePape broke up for the last time and Taub kicked
                  him out of the house for "toxic behavior" in 2014.


                  It was at that point DePape apparently became homeless for several
                  years.


                  The LA Times also spoke to a neighbor of DePape, Jin Molnar, who
                  described sharing some of DePape's right-wing views, like his
                  skepticism about COVID and vaccines. But Molnar also expressed
                  regret about not keeping better tabs on DePape and his mental state.
                  "I think his early life and his middle life had left him pretty bereft of
                  good contacts,” Molnar tells the paper. “And so I think when he
                  started to hear about that [conspiracy] stuff... it was like a little bit of
                  an anchor.”


                  And it seems clear enough at this point that DePape didn't so much
                  subscribe to one ideology — he likely believed in Taub's
                  nudism/body freedom cause just as much as he belived in QAnon
                  and the idea that 9/11 was an inside job (something Taub and a lot of
                  people on the left have long espoused). But he'd spent enough time
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                  in recent months consuming content that vilified Nancy Pelosi — of
                  which there is mountains — that kidnapping and torturing her seems
                  to have been an irrational next step ahead of the midterm elections.


                  The incident has prompted much public discussion about the
                  security provided to members of Congress — there's not much if
                  you're not Speaker — and Nancy Pelosi may yet use this incident as
                  an out as she was likely considering retirement anyway. Though her
                  next steps, as the House likely moves to GOP control, remain
                  uncertain.


                  Previously: Accused Pelosi Attacker David DePape Was In the US
                  Illegally, Still Managed to Become Obsessed With MAGA Crap


                  Top image via Frank Ciccarelli




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                     Comments for this thread are now closed                                                                             ×

                  40 Comments                                                                                                
                                                                                                                             1 Login




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                               Steve Bashakis                                                                                    −      ⚑
                               8 months ago

                               Epstein wasn’t a victim of some kind of conspiracy theory. He was an out-of-
                               control pedophile. In the end, he was killed for it like all pedophiles should be.

                                      4          7       Share ›


                                             Down the memory whole                        > Steve Bashakis                       −      ⚑
                                             8 months ago

                                             Oh no, he was killed to keep him quiet. Totally different reason.

                                                     5         7       Share ›


                                                            PJ > Down the memory whole                                           −      ⚑
                                                            8 months ago

                                                            spam trolls feeding spam trolls again

                                                                   8         0       Share ›



                                                R
                                                            Robert-SF                > Down the memory whole
                                                                                                                                 −      ⚑
                                                            8 months ago

                                                            And while we can't prove it, that's not a conspiracy. Epstein
                                                            could have taken down some very powerful people, out of
                                                            spite, even if it didn't earn him a sentence reduction (what?
                                                            from ten consecutive life sentence to only three?).

                                                            I later read that Epstein, who was usually described as a
                                                            finance manager of some sort, in fact had not done any
                                                            finance work for at least the decade before his death. So
                                                            why were people like Bill Gates and Alan Dershowitz there?
                                                            I wouldn't put it past them to want to enjoy prohibited fruit.

                                                                   4         7       Share ›



                                                              Z
                                                                          zero-sum game               > Robert-SF
                                                                                                                                 −      ⚑
                                                                          8 months ago

                                                                          It's textbook conspiracy.

                                                                                 8         0   Share ›

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                                                                         PJ > Robert-SF                                          −      ⚑
                                                                         8 months ago

                                                                         maybe doesnt get you much

                                                                                4         0   Share ›


                               Golden Gator                                                                                      −      ⚑
                               8 months ago

                               If only he hadn't been born in Canada, he'd be ideal as Trump's next running
                               mate.

                                      12          1    Share ›


                                             jimbo          > Golden Gator
                                                                                                                                 −      ⚑
                                             8 months ago

                                             Has not seemed to stop Ted Cruz.

                                                   0          4       Share ›

                                                          Golden Gator                 > jimbo                                   −      ⚑
                                                          8 months ago

                                                          Cruz was born in Alberta, but his mother is a native-born
                                                          U.S. citizen, which, unforutately, makes him eligible to run
                                                          for president.

                                                                  8         0       Share ›



                                                              E
                                                                         Eliza > Golden Gator                                    −      ⚑
                                                                         8 months ago

                                                                         I remember when Cruz was running in 2016, his
                                                                         claim of course was that he was a "natural born
                                                                         citizen" eligible for the presidency under Article II
                                                                         of the Constitution. But, if I recall correctly, some
                                                                         of the legal talking heads were quick to point out
                                                                         that the Constitution doesn't actually define
                                                                         "natural born citizen" and the Supreme Court has
                                                                         never actually issued a ruling specifically
                                                                         interpreting that language. Regrettably, Cruz was
                                                                         entitled to U.S. citizenship at the time of his birth
                                                                         due to his mother's U.S. citizenship, but the
                                                                         relevant statute conferring citizenship upon
                                                                         children born abroad to U.S. citizens doesn't
                                                                         actually equate that with "natural born
                                                                         citizenship." Personally, I'd be fine with a SCOTUS
                                                                         ruling that declared Mr. Cruz ineligible.

                                                                                7         0   Share ›

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                                                                        Golden Gator              > Eliza                        −      ⚑
                                                                        8 months ago

                                                                        Interesting. It would be nice for Cancún Cruz to
                                                                        be ineligible to run; he's such a horrible excuse
                                                                        for a human. Unsurprisingly, he renounced his
                                                                        Canadian citizenship in 2014, to the delight of
                                                                        most Canadians.

                                                                              9          0    Share ›


                               Down the memory whole                                                                             −      ⚑
                               8 months ago

                               Oh man, he looks like Eraserhead

                                      0          6       Share ›


                                             A.L.F. (Another Little Friend) > Down the memory whole                              −      ⚑
                                             8 months ago

                                             more like humpty dumpty with that egghead dad bod.

                                                     6         2   Share ›


                                             A.L.F. (Another Little Friend) > Down the memory whole                              −      ⚑
                                             8 months ago

                                             looks nothing like it btw.
                                             you might have face blindness.




                                             ⛺




                                                     8         2   Share ›

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                                                            PJ > A.L.F. (Another Little Friend)                                  −      ⚑
                                                            8 months ago

                                                            dyer is using all his socks to punish you for standing up to
                                                            racists

                                                                   7         0       Share ›


                                                                          A.L.F. (Another Little Friend) > PJ                    −      ⚑
                                                                          8 months ago

                                                                          yea they don't get it. it's ok, you can't get the
                                                                          donkey to drink water if it doesn't want to.

                                                                                 7         0   Share ›


                               jimbo                                                                                             −      ⚑
                               8 months ago

                               "right-wing views, like his skepticism about COVID and vaccines" When did
                               vaccine skepticism become "right-wing'? If you want to find a vaccine skeptic
                               just go to a Montessori school parent event.

                                      5          5       Share ›


                                             Down the memory whole                        > jimbo                                −      ⚑
                                             8 months ago

                                             Nah, Montessori's fine. It's the Waldorf people who are the nutjobs.
                                             I'm not kidding about this.

                                                     1         4       Share ›



                                                F
                                                            Frisky McWhiskers > Down the memory whole                            −      ⚑
                                                            8 months ago

                                                            The antivax nut jobs exist in the Waldorf community, but
                                                            they’re a distinct minority. Many left during Covid.

                                                                   0         4       Share ›


                                                            jimbo          > Down the memory whole                               −      ⚑
                                                            8 months ago

                                                            Agree about Waldorf but many locations don't have any so
                                                            people migrate to Montessori.

                                                                   0         4       Share ›


                                             Simon White                 > jimbo                                                 −      ⚑
                                             8 months ago

                                             You're thinking of old-school antivax, often found in the old new-age,
                                             hippy, alternative, vegan types. Those tend to be lefty / liberal or
                                             anti-authority.
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                                             They still exist, but Covid-19 & Trumpism & global fascism interbred
                                             to make a huge new class of antivaxer who entirely coincidentally
                                             have particular beliefs about the physics of droplet filtration in paper
                                             air filters, virology, epidemiology, immunology, and a number of
                                             other topics seemingly unrelated except by their involvement in the
                                             covid response. This collection of esoteric expertises and obsessive
                                             opinions has become an ineradicable identity marker among
                                             MAGAs and their worldwide imitators and fellow travelers. The
                                             global anti-globalist movement, if you will.

                                             They swear they are not anti-vax, but just have specific problems
                                             with the covid vax. (Which many of them define as not a vax).
                                             This is true I guess, until another disease comes along that needs a
                                             govt response which can be politicised. I.e. a serious one. The more
                                             serious, the more politically juicy it will be. Oh well, a bit of
                                             depopulation will fix the house affordability problem.

                                                     1           0   Share ›


                               Yesss And                                                                                         −      ⚑
                               8 months ago          edited

                               There's a lot of intersection in the Venn diagram of "left wing" and "right wing"
                               kooks. And he seems he has a pathologically loose grip on reality to some
                               extent.

                                      3          1       Share ›


                                             Simon White               > Yesss And                                               −      ⚑
                                             8 months ago

                                             I haven't seen intersection at extremes. Anarchists of the capitalist
                                             & socialist varieties don't mix AFAIK.
                                             On the authoritarian end, fascists & communists hate each other.
                                             Crypto-fascists call communists "fascist" as a cynical slur, not
                                             because they feel any commonality.

                                             DePape was liberal then got radicalized via the conspiracy theory
                                             world, which has gone from being largely non-political to being
                                             thoroughly colonized by right wingers in less than a decade.
                                             He may have a problem with anxiety or a tendency to delusion
                                             perhaps. But many people report their perfectly sane family
                                             members falling into the QAnon / MAGA rabbit hole and becoming a
                                             different person.

                                                     4           0   Share ›


                                                              Yesss And > Simon White                                            −      ⚑
                                                              8 months ago

                                                              Fair enough That's why I put quotes around "left wing" and
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                                                          Fair enough. That s why I put quotes around left wing and
                                                          "right wing".

                                                                 0          0       Share ›



                     A
                               anon408                                                                                           −      ⚑
                               8 months ago

                               given the wealth of the Pelosi's, they could hire a detail of any number of
                               trained ex-military/police to keep an eye out. But don't make us tax-payers
                               cover the cost - Paul is just a regular citizen, like you and me, relying on our
                               different cities police departments for safety

                                      1          7    Share ›


                               jimbo                                                                                             −      ⚑
                               8 months ago

                               "Once he was housed, he had much more time to spend on his computer.
                               Because when you’re living under a tree, you don’t have a plug." A good
                               argument for keeping the nutjobs living under a freeway.

                                      2          6    Share ›


                               Gabe Ets-Hokin                                                                                    −      ⚑
                               8 months ago

                               He should get the death penalty just for being a mean Canadian.

                                      2          8    Share ›


                                             EtruscanEntomologist > Gabe Ets-Hokin                                               −      ⚑
                                             8 months ago

                                             I thought the Canadian death penalty was being exiled to the US?

                                                     10         5    Share ›


                                                          Gabe Ets-Hokin                    > EtruscanEntomologist               −      ⚑
                                                          8 months ago

                                                          That means we can't send him back. Is there a Canadian
                                                          equivalent of Guantanamo?

                                                                 1          7       Share ›


                                                                        EtruscanEntomologist                                     −      ⚑
                                                                         > Gabe Ets-Hokin
                                                                        8 months ago

                                                                        Nova Scotia?

                                                                                1           6   Share ›


                                                                        LordByronBuxton                                          −      ⚑
                                                                         >E             E        l   i
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                                                                         > EtruscanEntomologist
                                                                        8 months ago

                                                                        Nova Scotia is nice though. I think the Yukon or
                                                                        Alert is more like it.

                                                                              1          0    Share ›



                     E
                               Eliza                                                                                             −      ⚑
                               8 months ago




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                           SF Politics


              Sonoma's Own Guy Fieri Seen Palling
              Around With Trump In Vegas — This                                           SF NEWS
                   Should Go Well For Him                                                 Five Hells Angels Members
                                                                                          Charged In Murder That
                                                                                          Happened During Chris
             RV Lot Sheltering Dozens of Formerly
             Unsheltered Homeless People In SF to
                                                                                          Stapleton Concert at
                Remain Open Under Tentative                                               Shoreline
                          Agreement                                                       An assault that turned deadly at a
                                                                                          Shoreline Amphitheater concert in June
                                                                                          has led today to arrests and charges
             As East Bay Gun Injuries Spike By 180%,
              the Region’s Congressional Reps Call                                        facing five alleged members of the
                       For Federal Report                                                 notorious Hells Angels Motorcycle Club
                                                                                          — including FBI raids on homes in SF.


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            BUSINESS & TECH

            Google Agrees To Pay Nearly $400 Million Settlement Over
            Basically Lying About Letting You Turn Off Location Tracking
            Google was tracking people even who turned off location tracking, which is kind of a problem
            in the era of abortion bounty hunter laws, so they’ve agreed to pay a $392 million settlement
            and they pinky-finger swear they’ll let you turn it off (eventually).


                                                                                                                           NOVEMBER 15, 2022




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                Jay Barmann
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                Jay C. Barmann is a fiction writer and web editor who's lived in San Francisco
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